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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
JOHN DOE,                                     )
                                              )
               Petitioner,                    )
                                              )
       v.                                     ) Civil Action No. 1:17-cv-2069 (TSC)
                                              )
PATRICK M. SHANAHAN,                          )
  in his official capacity as ACTING          )
  SECRETARY OF DEFENSE, 1                     )
                                              )
               Respondent.                    )


    RESPONDENT’S CONSENT MOTION FOR AN EXTENSION OF TIME WITHIN
         WHICH TO RESPOND TO PETITIONER’S MOTION TO UNSEAL

       Respondent Patrick M. Shanahan, in his official capacity as Acting Secretary of Defense,

hereby respectfully requests, with Petitioner’s consent, an extension of the time within which to

file a response to Petitioner’s Motion to Unseal [ECF No. 131]. Good cause exists to grant this

motion. Petitioner filed a Motion to Unseal on April 8, 2019. Pursuant to Local Rule 7(b),

Respondent’s response to Petitioner’s Motion is currently due April 22, 2019. However, among

other competing obligations, undersigned counsel had a preliminary injunction hearing in

another case on April 11, 2019, and will be out of the office on previously-scheduled leave from

April 22 to April 26, 2019. As a result, Respondent seeks an extension of the current deadline to

May 13, 2019. Undersigned counsel for Respondent has conferred with counsel for Petitioner,

who indicate that Petitioner consents to the requested extension of time. Accordingly,

Respondent respectfully requests that the Court extend Respondent’s deadline to file a response




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  Pursuant to Fed. R. Civ. P. 25(d), Patrick M. Shanahan is hereby substituted in his official
capacity as Acting Secretary of Defense as the Respondent in this action.
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to Petitioner’s Motion to Unseal up to and including May 13, 2018.

April 16, 2019                                     Respectfully submitted,

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                                                   JAMES M. BURNHAM
                                                   Deputy Assistant Attorney General
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                                                   /s/ Kathryn L. Wyer
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